  Case 1:21-cv-00007-DAK Document 31 Filed 09/27/21 PageID.548 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH


 CINDY WAHLEN,
                                                           Court No. 1:21-cv-00007-DAK
                       Plaintiff,

                vs.
                                                        MEMORANDUM DECISION AND
 KILOLO KIJAKAZI,                                               ORDER
 Acting Commissioner of Social Security,

                       Defendant.




       Before the Court is Defendant’s Unopposed Motion for Remand Pursuant to Sentence

Four of 42 U.S.C. § 405(g) (ECF No. 30). For good cause shown, Defendant’s motion is

GRANTED.

       This civil action is remanded to Defendant for a new decision pursuant to sentence four

of 42 U.S.C. § 405(g). The Clerk is directed to enter a judgment in accordance with Fed. R. Civ.

P. 58, consistent with the United States Supreme Court’s decision in Shalala v. Schaefer, 509

U.S. 292, 296-302 (1993).

       IT IS SO ORDERED this 27th day of September, 2021.




                                            Dale A. Kimball
                                            United States District Judge
